         Case 1:19-cr-00125-ABJ Document 118 Filed 08/27/19 Page 1 of 5



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                   Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


             NOTICE OF AUTHORITY REGARDING RESTRICTIONS ON
               CROSS-EXAMINATION OF CHARACTER WITNESSES

       Mr. Craig intends to call four witnesses who will testify to their opinion of Mr. Craig’s

character for honesty and integrity and law-abidingness and their knowledge of Mr. Craig’s

reputation for those character traits. The government has stated its intent to cross-examine Mr.

Craig’s character witnesses with questions along the lines of, “If you knew XYZ, would your

testimony regarding your opinion or Mr. Craig’s reputation be different?” Although that form of

question is not per se objectionable, see Fed. R. Evid. 405(a) (“On cross-examination of the

character witness, the court may allow an inquiry into relevant specific instances of the person’s

conduct”), and the Court has broad discretion over evidentiary matters, United States v. Lewis,

482 F.2d 632, 643 (D.C. Cir. 1973), the Court can and should bar the government from using the

cross-examinations of Mr. Craig’s character witnesses to pose hypotheticals about the evidence

that is disputed in this case. Pursuant to the Court’s request, Mr. Craig directs the Court to the

following exemplar authorities:

   •   Lewis, 482 F.2d at 638-39: District court erred in permitting cross-examination of

       character witnesses on “particular events, including prior convictions or arrests of the

       accused.” The D.C. Circuit then set out the following “restrictions designed to mitigate
      Case 1:19-cr-00125-ABJ Document 118 Filed 08/27/19 Page 2 of 5



    the potential hazard” of such cross-examination and instructed that “[t]he process

    demands close supervision” with “heavy responsibility on trial courts to protect the

    practice from any misuse”:

           (1)         “The matters the witness is to be asked about should first be

                       established to the trial judge’s satisfaction as actual events”;

           (2)         “The questions put to the witness should be carefully and narrowly

                       framed”; and

           (3)          “The questions, of course, must be restricted to events affecting the

                       character trait or traits the accused has placed at issue.”

•   United States v. Williams, 738 F.2d 172, 177 (7th Cir. 1984): District court erred by

    permitting the government, in prosecution for insurance and mail fraud, to ask character

    witnesses whether they would “change their opinion” if they were to “assume that it

    could be proven” that the defendant “gave false information to the insurance company

    and to police” – even though the defendant was not charged with lying to the police. Such

    questioning “allowed the prosecution to foist its theory of the case repeatedly on the jury

    and to force an unsuspecting witness to speculate the effect of a possible conviction.” Id.

    “[T]his line of questioning is error because it assumes away the presumption of

    innocence.” Id. (citing cases).

•   United States v. Guzman, 167 F.3d 1350, 1352 (11th Cir. 1999):

           Once a defendant calls a character witness, Federal Rule of
           Evidence 405(a) allows the government to cross-examine that
           witness regarding their knowledge of specific instances of the
           defendant’s misconduct in order to help the jury evaluate the
           quality of the character testimony. The government may not,
           however, pose hypothetical questions that assume the guilt of the
           accused in the very case at bar. “These guilt-assuming
           hypotheticals strike at the very heart of the presumption of

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         Case 1:19-cr-00125-ABJ Document 118 Filed 08/27/19 Page 3 of 5



               innocence which is fundamental to Anglo-Saxon concepts of fair
               trial.” (quoting United States v. Candelaria-Gonzalez, 547 F.2d
               291, 294 (5th Cir. 1977)).1

    •   United States v. Mason, 993 F.2d 406, 408-09 (4th Cir. 1993):

               Although an argument can be made that guilt-assuming
               hypothetical questions may be probative of the credibility of a non-
               expert witness, an opinion elicited by a question that assumes that
               the defendant is guilty can have only negligible probative value as
               it bears on the central issue of guilt. See United States v. Morgan,
               554 F.2d 31, 34 (2d Cir. 1977). And, in addition to a proper
               application of the rules of evidence, adherence to a basic concept
               of our justice system, the presumption of innocence, is not served
               by this line of questioning. See United States v. Oshatz, 912 F.2d
               534, 539 (2d Cir. 1990). We are in harmony with all circuits,
               except one, that, when called upon to address this issue,
               condemned the use of guilt-assuming hypothetical questions asked
               of lay character witnesses, whether testifying about a defendant's
               reputation in the community for a character trait or expressing an
               opinion about a trait.2

    •   United States v. Kellogg, 510 F.3d 188, 194 (3d Cir. 2007):

               Without necessarily distinguishing whether the issue involved
               cross-examining an opinion witness or a reputation witness, those
               courts have broadly held such questions are improper [citing
               cases]. Generally, the reason given for these holdings is that a
               guilt-assuming hypothetical impairs the presumption of innocence
               and thus violates the defendant’s due process rights [citing cases].
               A few Courts have also noted that an alternative basis for holding
               guilt-assuming hypotheticals are improper is that they are unfairly
               prejudicial to the defendant [citing cases], which would indeed
               seem to follow necessarily from a conclusion that there had been a
               due process violation.

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  In United States v. White, 887 F.2d 267, 274-75 (D.C. Cir. 1989), the D.C. Circuit held that the
district court in that case did not abuse its discretion in permitting the cross-examination at issue
there. It did not hold that cross-examination on disputed matters in criminal cases is per se
permissible. Nonetheless, the Eleventh Circuit noted in Guzman that the White panel “cit[ed]
cases that do not support th[e] proposition” that “character witness testifying to opinion of the
accused may be cross-examined with guilt-assuming hypotheticals.” Guzman, 167 F.3d at 1352.
2
  The only circuit the Mason court concluded approached the issue differently was the D.C.
Circuit in White. But as noted above (see n.1, supra) White stands merely for the proposition that
a district court has discretion on evidentiary issues such as the scope of cross-examination, and
that the district court in that case did not abuse its discretion.
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        Case 1:19-cr-00125-ABJ Document 118 Filed 08/27/19 Page 4 of 5



   •   United States v. Oshatz, 912 F.2d 534, 539 (2d Cir. 1990):

              We do not doubt that to some extent a guilt-assuming hypothetical
              question might be probative of the credibility of testimony given
              by a non-expert character witness. Steadfast adherence to a
              favorable opinion by a witness asked to assume the defendant’s
              guilt might provide some basis for concluding that the witness is
              simply supporting the defendant, rather than providing credible
              testimony about his character. But we share the view . . . that such
              cross-examination is nevertheless to be prohibited because it
              creates too great a risk of impairing the presumption of innocence.
              Moreover, after a jury has repeatedly heard a prosecutor assure a
              trial judge that he has a good-faith basis for asking permitted
              hypothetical questions, the jury might infer from the judge’s
              permission to ask a guilt-based hypothetical question that the
              prosecutor has evidence of guilt beyond the evidence in the record.



Dated: August 27, 2019                             Respectfully submitted,


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                                               4
        Case 1:19-cr-00125-ABJ Document 118 Filed 08/27/19 Page 5 of 5



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 27, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Adam B. Abelson
                                              Adam B. Abelson
